Case 1:22-cv-01237-RGA Document 161 Filed 04/04/23 Page 1 of 2 PageID #: 16897




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


                                              Chapter 11
 In re
                                              Bankruptcy Case No. 20-10343 (LSS)
 Boy Scouts of America and
 Delaware BSA, LLC,1                          (Jointly Administered)
                  Debtors.

 National Union Fire Insurance Co. of
 Pittsburgh, PA, et al. ,

                  Appellants.
                                              Case No. 22-cv-01237-RGA
 V.


 Boy Scouts of America, et al. ,


                   SN'(/
      ORDER          ~~STIPULATION TO EXTEND WORD LIMITS

               Upon consideration of the Stipulation to Extend Word Limits (the

 "Stipulation"), a copy of which is attached hereto Exhibit A; and the Court havingJ'".,/
                                                           ,. ullnece.s.st~             _J:!:f
 determined that the relief requested in the Stipulation is iB di.e b@~t   ~            tRe
                                                           "
p a r t ~ above <;aptioned appsaJ.; and upon all the proceedings had before the

 Court and after due deliberation and sufficient cause appearing therefor,

 IT IS HEREBY ORDERED that:


 1
      The Debtors in the chapter 11 cases, together with the last four digits of each
      Debtor's federal tax identification number, are as follows: Boy Scouts of America
      (6300); and Delaware BSA, LLC (4311). The Debtors' mailing address is 1325
      West Walnut Hill Lane, Irving, Texas 75038.                        ..
     f!/J. 7M /~"6 rk.,1/»ue ~ ~                                           '4   JffIL
 ~-
Case 1:22-cv-01237-RGA Document 161 Filed 04/04/23 Page 2 of 2 PageID #: 16898




               1.
                                                                           tlar
                       The Stipulation, attached hereto as Exhibit A, is/\APPROVE~

and the leitrt5 and ~ditiaus of the ~tipulatiee    ttf'C iflcorp◊rated   in thi5 Order as tf'

ftrlly set forttt-her eiu:-

               2.      The word limit for the Debtors' Omnibus Response to

Appellants' Stay Motions i,     <!a■mled   le ~    ~ ~s~                      usive of any

accompanying supporting documents.

               1--_Ihe Parties are authori zed ta tak:@ all actiofl:s nece55ruy or

~inrble h-, @ffoctmtte the relief gr.meted pursuant-to, and in accordance ,vith, this



               4.      This Court retains exclusive jurisdiction with respect to all

matters arising from or related to the implementation, interpretation, or enforcement

of this Order.



Dated:~             'I; 2023
                                           ~                                              s
                                             UNITED STATES DISTRICT JUDGE




                                               2
